  Case: 1:17-md-02804-DAP Doc #: 5595 Filed: 08/21/24 1 of 1. PageID #: 644231



BLANK ROME LLP
Terry M. Henry
Fiona Steele
One Logan Square
130 North 18th Street
Philadelphia, PA 19103
Telephone: (215) 569-5644
Terry.Henry@BlankRome.com
Fiona.Steele@BlankRome.com
Attorneys for Defendant
Tris Pharma, Inc.
                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION
IN RE: NATIONAL PRESCRIPTION                   MDL No. 2804
OPIATE LITIGATION                              Case No. 1:17-md-02804-DAP

This document relates to:
                                                      NOTICE OF APPEARANCE
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         Please enter the appearance of Terry M. Henry of Blank Rome LLP on behalf of

Defendant Tris Pharma, Inc. in the above-captioned matters.

                                           BLANK ROME LLP

                                           /s/ Terry M. Henry
                                           Terry M. Henry, Esquire
                                           One Logan Square
                                           130 North 18th Street
                                           Philadelphia, PA 19103
                                           Tel. (215) 569-5644
                                           Terry.Henry@BlankRome.com
                                           Attorneys for Defendant
                                           Tris Pharma, Inc.

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